Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 1 of 12 Page ID
                                 #:10311


   1                     UNITED STATES DISTRICT COURT
   2                   CENTRAL DISTRICT OF CALIFORNIA
   3
       ENTROPIC COMMUNICATIONS,             Case No. 2:23-cv-01049-JWH-KES
   4   LLC,                                 (Lead Case)
   5                   Plaintiff,           Case No. 2:23-cv-01050-JWH-KES
                                            (Related Case)
   6        v.
                                            [Assigned to the Honorable John W.
   7   COX COMMUNICATIONS, INC., et         Holcomb]
       al.,
   8                                        REBUTTAL DECLARATION OF
                       Defendants.          JOHN HOLOBINKO IN SUPPORT OF
   9                                        PLAINTIFF ENTROPIC’S
                                            PROPOSED CLAIM
 10                                         CONSTRUCTIONS
 11
 12    ENTROPIC COMMUNICATIONS,
       LLC,
 13
                       Plaintiff,
 14
            v.
 15
       COMCAST CORPORATION, et al.,
 16
                       Defendants.
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

        REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
          PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 2 of 12 Page ID
                                 #:10312


   1                                                  TABLE OF CONTENTS
   2
       I.                 Introduction ................................................................................................. 1
   3
       II.                Qualifications .............................................................................................. 1
   4
       III.               Materials Considered .................................................................................. 1
   5
       IV.                Additional Opinions Regarding the Term “SNR-Related Metric” ............. 2
   6
              A.          Overview of noise and SNR........................................................................ 2
   7
              B.          Dr. Chatterjee’s misinterpretation of “SNR-related” .................................. 4
   8
                   i.         Latency ................................................................................................... 6
   9
                   ii.        Throughput ............................................................................................. 7
 10
                   iii.       Environmental factors ............................................................................ 8
 11
                   iv.        Number of coupling elements ................................................................ 8
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                       i
            REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
              PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 3 of 12 Page ID
                                 #:10313


   1          I, John Holobinko, declare as follows:
   2   I.     Introduction
   3          1.    I am over the age of 18 and am competent to make this Rebuttal
   4   Declaration (“Rebuttal Declaration” or “this Declaration”). I have personal
   5   knowledge, or have developed knowledge, of the relevant technologies and the
   6   matters set forth herein based upon my education, training, or experience. If called
   7   upon to do so, I would testify competently thereto.
   8          2.    I previously submitted a declaration (“Original Declaration”) in support
   9   of Plaintiff Entropic Communications, LLC’s (“Entropic”) proposed claim
 10    constructions in the above-captioned matter. Specifically, I offered opinions
 11    regarding how a person of ordinary skill in the art would understand certain claim
 12    terms in U.S. Patent No. 10,135,682 (“’682 Patent”), a copy of which was attached
 13    to my Original Declaration as Exhibit B.
 14           3.    As I noted in ¶ 47 of my Original Declaration, Defendants’ invalidity
 15    contentions did not provide any clarity as to the specific reasons why Defendants
 16    contend the term “SNR-related metric” is indefinite. Now that Defendants have
 17    offered the Declaration of Dr. Sandeep Chatterjee and made their invalidity theories
 18    known, I submit this Rebuttal Declaration to address specific errors in Dr.
 19    Chatterjee’s opinions related to the alleged indefiniteness of “SNR-related metric.”
 20    II.    Qualifications
 21           4.    My qualifications are set forth in my initial declaration at ¶¶ 7–16 and
 22    in Exhibit A attached thereto.
 23    III.   Materials Considered
 24           5.    In addition to the “Materials Considered” that I listed in Section IV of
 25    my Original Declaration, I have further considered the materials listed below:
 26                    a. The Declaration of Dr. Sandeep Chatterjee Regarding Claim
 27                       Construction (“Chatterjee Decl.”) and attached exhibits;
 28
                                   1
        REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
          PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 4 of 12 Page ID
                                 #:10314


   1                   b. Arnold, H.D. & Espenschied, L. (1923), TRANSATLANTIC RADIO
   2                      TELEPHONY, Bell System Technical Journal Vol. 2, 116–144;
   3                   c. Collins, L. (1969), Signal-to-Noise Ratios for Television
   4                      Transmission, MIT Lincoln Laboratory; and
   5                   d. Shannon (1949), COMMUNICATION IN THE PRESENCE OF NOISE,
   6                      Proceedings of the I.R.E. Vol. 37(1), 10–21.
   7   IV.   Additional Opinions Regarding the Term “SNR-Related Metric”
   8         6.     Dr. Chatterjee acknowledges that signal-to-noise ratio (“SNR”) was a
   9   well-known term in the art. See Chatterjee Decl. ¶ 79. However, he mistakenly opines
 10    that a POSITA would not have been familiar with “SNR-related metric(s).” See id.
 11    at ¶ 80. Dr. Chatterjee appears to misunderstand or misstate basic concepts
 12    underlying the ’682 Patent, concepts that are (and were at the time of the ’682
 13    Patent’s priority date) well-understood to a POSITA. Given these misstatements in
 14    Dr. Chatterjee’s Declaration, I feel compelled to discuss these basic concepts and
 15    point out where Dr. Chatterjee draws incorrect conclusions from them.
 16          A.     Overview of noise and SNR
 17          7.     It has long been known that network communications are affected by
 18    noise, which refers to “unwanted disturbances superposed upon a useful signal that
 19    tend to obscure its information content.” See Chatterjee Decl. Ex. M at 483–484. This
 20    noise is an unavoidable consequence of physics inherent to the physical device (e.g.,
 21    circuitry, cabling, etc.) that is used to transmit the signal. See Chatterjee Decl. Ex.
 22    CC at 373 (defining noise as “any signal or interference on a circuit other than the
 23    signal being transmitted” and noting there is “inherent circuit noise”).
 24          8.     The effect of noise in the context of digitally modulated signals is a
 25    bedrock of information theory. See Ex. I (Shannon (1949), COMMUNICATION IN THE
 26    PRESENCE OF NOISE, Proceedings of the I.R.E. Vol. 37(1), 10–21). Noise causes
 27    distortion of the desired signal such that some of the encoded bits may be rendered
 28    indecipherable. Thus, noise has a negative impact on the information carrying
                                   2
        REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
          PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 5 of 12 Page ID
                                 #:10315


   1   capacity of a signaling channel, as Shannon recognized. See id. at 11. All else being
   2   equal, less information can be carried though to its destination. See generally
   3   Chatterjee Decl. Ex. CC at 372–373 (describing how noise “degrade[s] the quality of
   4   signals”). In summary, the signal quality and thus its corresponding information
   5   carrying capacity are negatively affected by noise.
   6         9.     SNR is a ratio of the signal to be transmitted against the level of noise,
   7   and it has been known since the early 1900s1 as a common way to measure the overall
   8   information carrying capacity of a channel (and therefore, channel quality), based on
   9   the noise levels affecting the channel. See Holobinko Original Decl. ¶ 48. This is
 10    confirmed by Newton’s Telecom Dictionary, which Dr. Chatterjee cites. See
 11    Chatterjee Decl. Ex. S at 1043. It defines SNR as “[a] measurement of the relative
 12    level of noise on a circuit2 and, therefore, the quality of the transmission” and
 13    specifically notes that “SNR is the ratio of the usable signal being transmitted to the
 14    noise or undesired signal.” Id.; see also Chatterjee Decl. Ex. CC at 373 (“[i]n the
 15    event of a weak signal, however, a lower signal-to-noise ratio reduces the quality of
 16    the received signal”). For a given signal transmission, the SNR therefore indicates
 17    the quality of the signal compared to the inevitably present noise.
 18          10.    As already discussed, the signal quality in the face of noise indicates
 19    how much information a digital signal can carry. This aspect of SNR is most
 20    interesting to the ’682 Patent and the invention therein, which is why the patent
 21    1
         Signal to noise ratio has been used since as early as 1923. See Ex. J (Arnold, H.D.
 22    & Espenschied, L. (1923), TRANSATLANTIC RADIO TELEPHONY, Bell System
       Technical Journal Vol. 2, 116–144) at 133 (“The interference at the receiving station
 23    likewise may be measured and the ratio of the strength of the signal waves to the
 24    interfering waves may be taken as a measure of freedom from interference; this in
       turn being directly related to the readiness with which the messages are understood”).
 25    By the 1960’s and ’70s, SNR was commonly used for measuring, e.g., television
       signals. See generally Ex. K (Collins, L. (1969), Signal-to-Noise Ratios for
 26    Television Transmission, MIT Lincoln Laboratory).
       2
 27      Newton’s refers to signals and noise “on a circuit.” However, a POSITA would
       apply substantially the same definition in the context of digitally modulated
 28    communications, where SNR measures communications on a channel.
                                                   3
         REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
            PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 6 of 12 Page ID
                                 #:10316


   1   describes SNR and related metrics as “performance metrics.” See ’682 Patent 3:54–
   2   59. The performance refers to the carrying capacity.
   3         11.    SNR is not the only measurement that indicates the signal quality and
   4   thus the performance of a signaling channel. Various SNR-related metrics are
   5   “related” to SNR in the sense that they measure the same fundamental
   6   communications property as SNR—the information carrying capacity (i.e., “quality”
   7   or “performance”) of a channel. This is the way a POSITA would understand the
   8   term “SNR-related metric.”
   9         12.    With that background, I discuss further below how Dr. Chatterjee seems
 10    to have arrived at opinions about SNR and SNR-related metrics that I believe are
 11    incorrect.
 12          B.     Dr. Chatterjee’s misinterpretation of “SNR-related”
 13          13.    The flaw in Dr. Chatterjee’s analysis is that he interprets “SNR-related”
 14    to mean anything that influences, or is influenced by, SNR. See Chatterjee Decl. ¶ 86
 15    (“A wide range of additional metrics may, in theory, impact SNR or be impacted by
 16    SNR”). This leads him to conclude that a POSITA would be uncertain as to whether
 17    certain metrics are SNR-related, for example because a given metric might correlate
 18    with SNR in some instances but not in others. See id. at ¶¶ 86–91.
 19          14.    I disagree. In my opinion, Dr. Chatterjee’s reading of the term is
 20    detached from the real-world knowledge and experience of a POSITA. (I note in
 21    particular that Dr. Chatterjee qualifies his analysis with the phrase “in theory.”)
 22    A POSITA would not interpret “SNR-related” the way Dr. Chatterjee does because
 23    the POSITA would not proceed “in theory,” but instead grounded in engineering
 24    reality. That POSITA would have no trouble reasonably ascertaining whether a given
 25    metric is SNR-related, especially in view of the intrinsic record.
 26          15.    The ’682 Patent provides some examples of “SNR-related metric[s]” as
 27    including metrics “such as SNR at a particular frequency or SNR over a range of
 28    frequencies (an SNR profile), noise levels, strength of desired signals, and/or the
                                   4
        REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
          PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 7 of 12 Page ID
                                 #:10317


   1   like.” ’682 Patent 3:56–59. In addition, U.S. Patent Application No. 13/948,401,
   2   which is incorporated by reference in the ’682 Patent, similarly states:
   3                A measured performance metric may be, for example, an
   4                SNR-related metric such as noise levels, strength of
   5                received desired signals, SNR at a particular frequency,
   6                SNR over a range of frequencies (an SNR profile), bit error
   7                rate, symbol error rate, and/or the like.
   8   Chatterjee Decl. ¶ 84.
   9         16.    Dr. Chatterjee acknowledges these recitations of the Patent and the
 10    various examples, but opines that the inclusion of the phrase “and/or the like” creates
 11    ambiguity because it “provides no further guidance for determining whether a
 12    particular additional metric is SNR-related.” Id. I disagree. If anything, the use of the
 13    phrase “and/or the like” would confirm to a POSITA that an SNR-related metric is a
 14    metric that is like one of the six listed (SNR at a particular frequency, SNR over a
 15    range of frequencies (also known as an SNR profile), noise levels, strength of desired
 16    signals, bit error rate, and symbol error rate).
 17          17.    In my opinion, a POSITA would have no difficulty understanding that
 18    the reference to “and/or the like” implicate metrics that are like SNR in that they too
 19    provide a measure of signal quality which in turn indicates the information carrying
 20    capacity of the signaling channel. Contrary to Dr. Chatterjee’s conjectures “in
 21    theory,” the reference to “and/or the like” does not divorce the term from its origins
 22    in SNR and communications theory, nor does it convert SNR-related into a much
 23    broader term encompassing any metric that may affect SNR.
 24          18.    I further disagree with Dr. Chatterjee’s opinion that “a person of skill in
 25    the art would have no understanding of how to determine whether a given metric is
 26    an ‘SNR-related metric.’” See Chatterjee Decl. ¶ 86. As I have already stated above
 27    at ¶¶ 11 and 14, the POSITA is guided in understanding the scope of the phrase by
 28    the technical reality. Both SNR and SNR-related metrics measure the same
                                   5
        REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
          PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 8 of 12 Page ID
                                 #:10318


   1   fundamental communications property: the signal quality, which in turn informs
   2   about the information carrying capacity (i.e., “quality” or “performance”).
   3         19.    In support of his indefiniteness opinion, Dr. Chatterjee conjectures that
   4   various factors he lists might or might not be SNR-related metrics, and that a POSITA
   5   would have no way of determining whether they are within the scope of the claims
   6   (e.g., latency, throughput, environmental factors, etc.). See id. at ¶¶ 87–91. However,
   7   Dr. Chatterjee’s analysis merely addresses whether each factor might either influence
   8   SNR (such as environmental factors) or be influenced by SNR (latency, throughput).
   9   That analysis misses the point because the question is whether a metric is “related”
 10    to SNR in the sense that, like SNR, it provides a measure of signal quality itself. In
 11    my opinion, a POSITA would not be confused as to whether any of these factors is
 12    an “SNR-related metric” in the context of the ’682 Patent. Below, I explain how a
 13    POSITA would be able to determine whether these examples, or any others, are SNR-
 14    related metrics.
 15                 i.      Latency
 16          20.    As explained by Dr. Chatterjee, latency relates to the “waiting time or
 17    time delay” for network communications. Chatterjee Decl. ¶ 87. Latency
 18    characterizes the time delay of processing packets, e.g. over a bridge or router. See
 19    e.g. Chatterjee Decl. Ex. S at 674–675 (defining latency as a “length of time the
 20    packet is stuck in a bridge or router”). Ultimately the signal quality may influence the
 21    latency of information it carries—a poor signal may result in more delay because of
 22    errors, retransmission requests, etc. But this does not convert latency into a measure
 23    of signal quality.
 24          21.    Latency is not necessarily a metric for the information carrying capacity
 25    of the physical channel because latency could be, and typically is, affected by factors
 26    other than those that affect channel quality. Dr. Chatterjee acknowledges as much
 27    when he states that “[a] decrease in SNR could impact bit error rate, and depending
 28    on the degree of impact on bit error rate, and multiple other factors, an increased bit
                                   6
        REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
          PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 9 of 12 Page ID
                                 #:10319


   1   error rate could also lead to an increase in latency.” Chatterjee Decl. ¶ 88 (emphasis
   2   added). As an example, in a theoretically noiseless transmission network, there could
   3   still be significant latency solely attributable to the endpoint devices, such as from
   4   processing delays.
   5         22.    A POSITA would not view latency as an SNR-related metric because it
   6   is not a measure of signal quality. A POSITA would not use latency as a substitute
   7   for SNR, or more generally as a measure of noise in the channel. Therefore, it would
   8   be reasonably clear to a POSITA that latency is not an SNR-related metric.
   9                ii.     Throughput
 10          23.    Throughput broadly refers to an amount of information, per unit time,
 11    that can be transmitted through a communications network. See Chatterjee Decl. ¶ 89
 12    (characterizing throughput as “the actual amount of useful and non-redundant
 13    information which is transmitted or processed, i.e., the end result of a data call”); see
 14    also Chatterjee Decl. Ex. S at 1157 (“Throughput is a function of bandwidth, error
 15    performance, congestion, and other factors”). As with latency, “throughput” is a
 16    metric that involves many factors above and beyond the signal quality. Throughput,
 17    as Dr. Chatterjee uses the term, measures performance of the entire network, not just
 18    the signal quality itself. See e.g. Chatterjee Decl. Ex. S at 1157 (describing throughput
 19    as “a measure of the efficiency of [a] communications network”). Throughput, like
 20    latency, may be heavily or even exclusively a function of processing efficiency or
 21    lack thereof. Throughput is not a useful indicator of the signal quality in a noisy
 22    environment. Dr. Chatterjee seems to agree, admitting that “throughput may
 23    sometimes be impacted by SNR and may sometimes not be.” Chatterjee Decl. ¶ 89.
 24          24.    Dr. Chatterjee and I therefore appear to agree on the basic facts, but he
 25    draws what I consider to be the wrong conclusion. A POSITA would not find the
 26    unreliability of “throughput” for indicating signal quality as somehow rendering the
 27    term “SNR-related metric” confusing. To the contrary, the POSITA would recognize
 28
                                   7
        REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
          PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 10 of 12 Page ID
                                  #:10320


   1   that throughput is not an SNR-related metric where it is simply not a reasonable
   2   measure of signal quality.
   3         25.    In my opinion, the situation is easy for a POSITA to sort out. If
   4   throughput is measured purely in terms of the physical channel such that it provides
   5   a measure of signal quality, then that particular “throughput” could serve as an “SNR-
   6   related” metric. However, where throughput does not provide a measure of signal
   7   quality, it is not an SNR-related metric.
   8                iii.   Environmental factors
   9         26.    Dr. Chatterjee cites various environmental factors such as water buildup
  10   (e.g., moisture or humidity), heat, and the physical distance between components as
  11   factors that “could impact SNR,” although he notes that “numerous additional
  12   factors” would also contribute to the overall noise. See Chatterjee Decl. ¶ 90. I agree
  13   with Dr. Chatterjee that environmental factors such as these can have an influence on
  14   SNR because they can contribute to the overall noise in the channel. However, these
  15   environmental factors are generally not measures of signal quality.
  16         27.    As an initial matter, environmental factors such as these are generally
  17   not even measured by the network. Some cannot be measured at all. For example,
  18   there is no metric for measuring water in a cable installation. Further, there is not a
  19   consistent correlation between SNR and any of these factors. In other words, a
  20   POSITA cannot confidently say that ‘X’ amount of heat or moisture on the cable will
  21   have ‘Y’ impact on SNR. Thus, if a POSITA were to be told that the ambient
  22   temperature for the channel is X degrees, the POSITA would not have received a
  23   metric that actually measures the signal quality of the channel. Therefore, it would
  24   be reasonably clear to a POSITA that these factors are not “SNR-related metrics.”
  25                iv.    Number of coupling elements
  26         28.    Dr. Chatterjee additionally cites to a portion of the ’682 Patent, which
  27   he alleges “describes the ‘number of coupling elements’ between the CMTS and a
  28   cable modem as a ‘performance metric.’” Chatterjee Decl. ¶ 91 (citing ’682 Patent
                                   8
        REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
          PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 11 of 12 Page ID
                                  #:10321


   1   6:46–61). However, Dr. Chatterjee misreads the patent’s specification. What it
   2   actually states is that “[t]he number of coupling elements may be determined based
   3   on, for example, measured performance metrics (e.g., SNR profile) of the CMs
   4   and/or address or GPS information associated with the CMs.” ’682 Patent 6:52–55.
   5   This is consistent with what a POSITA would understand: the number of coupling
   6   elements might have some impact on noise in the channel, but it would not be useful
   7   to use “number of coupling elements” as a measure of signal quality, overall noise,
   8   channel health, or the information carrying capacity of a channel. Therefore, it would
   9   be reasonably clear to a POSITA that the number of coupling elements is not an SNR-
  10   related metric.
  11         29.    Because a POSITA would have no trouble discerning whether a
  12   particular metric is “SNR-related,” it is my opinion that the term “SNR-related
  13   metric” is not indefinite.
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                   9
        REBUTTAL DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF
          PLAINTIFF ENTROPIC’S PROPOSED CLAIM CONSTRUCTIONS
Case 2:23-cv-01049-JWH-KES Document 325-19 Filed 05/17/24 Page 12 of 12 Page ID
                                  #:10322
